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CGFI2 (6/30/17)
                                               United States Bankruptcy Court
                                                             Southern District of Florida
                                                               www.flsb.uscourts.gov
                                                                                                                  Case Number: 18−15891−LMI
                                                                                                                  Chapter: 7
In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Maurice Symonette
1411 NW 14 AVE
Miami, FL 33167
SSN: xxx−xx−9067


                         NOTICE OF DEADLINE(S) TO CORRECT FILING DEFICIENCY(IES)
NOTICE IS HEREBY GIVEN TO THE DEBTOR that the above referenced case, which was filed on May 16, 2018, contains one
or more filing deficiency(ies) which must be corrected. Failure to correct a deficiency on or before the deadline posted
below the listed deficiency may result in the document(s) being stricken and/or dismissal of this case without further
notice. Deficiencies in items listed below may include failure to file the document, failure to sign the document, or failure to file
the document using the correct and/or current form that substantially conforms to an Official Bankruptcy Form. Links to all
required Official Bankruptcy Forms and AO Director's national forms and to local rules, forms, instructions and guidelines are on
the court website www.flsb.uscourts.gov.

DEFICIENCY(IES) in your case: You must correct the following deficiency(ies) by the date indicated below each deficiency.

                     Schedules of assets and liabilities. The following schedules were not filed OR were not
                     filed using the correct and/or current Official Bankruptcy Form.
                     Deadline to correct deficiency: 5/30/18

                               Official Bankruptcy Form 106Sum, Summary of Your Assets and Liabilities and
                               Certain Statistical Information

                               Official Bankruptcy Form 106A/B, Schedule A/B: Property
                               Official Bankruptcy Form 106C, Schedule C: The Property You Claim as Exempt
                               Official Bankruptcy Form 106D, Schedule D: Creditors Who Hold Claims Secured
                               by Property
                               Official Bankruptcy Form 106E/F, Schedule E/F: Creditors Who Have Unsecured
                               Claims
                               Official Bankruptcy Form 106G, Schedule G: Executory Contracts and Unexpired
                               Leases
                               Official Bankruptcy Form 106H, Schedule H: Your Codebtors
                               Official Bankruptcy Form 106I, Schedule I: Your Income
                               Official Bankruptcy Form 106J, Schedule J: Your Expenses
                               and (if applicable) Official Bankruptcy Form 106J2, Schedule J−2: Expenses for
                               Separate Household of Debtor 2

                     Declaration Concerning Debtor's Schedules (Official Bankruptcy Form 106Dec,
                     Declaration About an Individual Debtor's Schedules) was not filed or was not signed. See
                     Bankruptcy Rules 1007 and 1009, and Local Rules 1007−2(B) and 1009−1(D).
                     Deadline to correct deficiency: 5/30/18


                                        Declaration not filed
                                        Declaration not signed
                                        Declaration must be filed with deficient schedules listed above

                     Statement of Financial Affairs (Official Bankruptcy Form 107 Your Statement of Financial
                     Affairs for Individuals Filing for Bankruptcy) not filed completely or was not signed. See
                     Bankruptcy Rule 1007(b) and (c).
                     Deadline to correct deficiency: 5/30/18
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                                   Statement not filed
                                   Statement not signed
                                   Statement incomplete

                 Chapter 7 Statement of Your Monthly Income (Official Bankruptcy Form 122A−1, Chapter
                 7 Statement of Your Current Monthly Income and Means−Test Calculation or 122A−1Supp,
                 Chapter 7 Means Test Exemption Attachment) not filed. See Bankruptcy Rule 1007(b) and
                 (c).
                 Deadline to correct deficiency: 5/30/18

                 Copies of all payment advices or other evidence of payment received within 60 days
                 before the filing of the petition as required by 11 U.S.C. §521(a)(1)(B)(iv) for the Debtor.
                 See Bankruptcy Rule 1007(b) and (c) and Local Rule 1007−1(F). Payment advices are
                 deficient as indicated: not filed
                 Deadline to correct deficiency: 5/30/18

                 Certification of Budget and Credit Counseling Course for the DEBTOR not filed. See
                 Bankruptcy Rule 1007−1(b)(3) and Local Rule 1007−1(D). A copy of a certificate from the
                 agency describing the services provided to you and a copy of any debt repayment plan
                 developed through the agency must be filed.
                 Deadline to correct deficiency: 5/30/18

IMPORTANT: The deadline to file the certificate of credit counseling cannot be extended unless there are exigent
circumstances which prevented you from obtaining the credit counseling briefing [See 11 U.S.C. 109(h)(3)].


Please also be advised of the following local requirement when correcting any deficiency related to filing of petitions,
schedules, statements or lists:

The Local Form "Debtor's Notice of Compliance with Requirements for Amending Creditor Information" (LF−04) and the Official
Bankruptcy Form "Declaration About an Individual Debtor's Schedules" must accompany the filing of any paper submitted
subsequent to the filing of the initial service matrix. [See Bankruptcy Rules 1007 and 1009, and Local Rules 1007−2(B) and
1009−1(D)]. If the paper you are filing to correct the deficiency requires you to amend your service matrix, please review the
"Clerk's Instructions for Preparing, Submitting and Obtaining Service Matrices" for additional format, fee and other requirements.

Dated:5/16/18                                                    CLERK OF COURT
                                                                 By: Carmela Grimm , Deputy Clerk
Copies to:   Debtor
             Attorney for Debtor
